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IN THE UNITED STATES DISTRICT COURT ‘\/'
FOR THE WESTERN DISTRICT OF TENNESSEE 95 APR 21 PH h 02
EASTERN DIVISION

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lal`). Or :;\`.=‘_H,ACKSON.
RAYMoND CLARK, g ' '
ll
Plaintiff, §
ll
VS. § NO. 04-1300~T/AI1
ll
CORRECTIONS CORPORATION OF §
AMERICA, ET AL., g
ll
Defendants. §

 

ORDER ASSESSING $150 CIVIL FILING FEE
ORDER OF PARTIAL DISMISSAL
ORDER DENYING APPOINTMENT OF COUNSEL
AND -
ORDER TO EFFECT SERVICE ON THE REMAINING DEFENDANTS

 

Plaintiff Rayrnond Clark a/k/a Raymond E. Clark, Tennessee Department of
Correction prisoner number 227052, an inmate at the Hardeman County Correctional
Facility (“HCCF”) in Tiptonville, Tennessee, filed a civil action pursuant to 42 U.S.C.
§ 1983 on Novernber 15, 2004, along with an application seeking leave to proceed in forma
pauperis The Clerk shall record the defendants as the Corrections Corporation of America

(“CCA”), HCCF Warden Glen Turner, and Captain Rod Brandis.

I. Assessment of Filing Fee
Under the Prison Litigation Reform Act of 1995 (“PLRA”), 28 U.S,C. § 19 l S(a)-(b),

all prisoners bringing a civil action must pay the full filing fee of $lS0.00 required by 28

Thls document entered on the docket sheet ln compl|anee
with nule ss and!or 79 (a) FRcP on to 5

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U.S.C. § l9l4(a).l Thei__nfo_rm_a p_gl_pe_ri§ statute, 28 U.S.C. § 1915(a), merely provides the
prisoner the opportunity to make a “downpayment” of a partial filing fee and pay the
remainder in installments

In this case, the plaintiff has properly completed and submitted an in forma pauperis
affidavit and an inmate trust fund account statement Pursuant to 28 U.S.C. § l915(b)(1),
it is ORDERED that the plaintiff cooperate fully with prison officials in carrying out this
order. lt is further ORDERED that the trust fund officer at plaintiffs prison shall calculate
a partial initial filing fee equal to twenty percent (20%) of the greater of the average balance
in or deposits to the plaintiffs trust fund account for the six months immediately preceding
the completion of the affidavit When the account contains any funds, the trust fund officer
shall collect them and pay them directly to the Clerk of Court. lf the funds in plaintiffs
account are insufficient to pay the full amount of the initial partial filing fee, the prison
official is instructed to withdraw all of the funds in the plaintiffs account and forward them
to the Clerk of Court. On each occasion that funds are subsequently credited to plaintiffs
account the prison official shall immediately withdraw those funds and forward them to the
Clerk of Court, until the initial partial filing fee is paid in full.

lt is further ORDERED that after the initial partial filing fee is fully paid, the trust
fund officer shall withdraw from the plaintiffs account and pay to the Clerk of this Court

monthly payments equal to twenty percent (20%) of all deposits credited to plaintiffs

 

l Because this action was commenced prior to March 7, 2005, the new $250 filing fee is inapplicable

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account during the preceding month, but only When the amount in the account exceeds
$10.00, until the entire $150.00 filing fee is paid.

Each time that the trust fund officer makes a payment to the Court as required by this
order, he shall print a copy of the prisoner’s account statement showing all activity in the
account since the last payment under this order and file it with the Clerk along with the
payment All payments and account statements shall be sent to:

Clerk, United States District Court, Western District of Tennessee, 262 U.S.
Courthouse, lll S. Highland Ave., Jacl<son, TN 38301

and shall clearly identify plaintiffs name and the case number on the first page of this order.
lf plaintiff is transferred to a different prison or released, he is ORDERED to notify
the Court immediately of his change of address. lf still confined he shall provide the
officials at the new prison with a copy of this order. lf the plaintiff fails to abide by these
or any other requirement of this order, the Court may impose appropriate sanctions,
including a monetary fine, without any additional notice or hearing by the Court.

The Clerk shall mail a copy of this order to the prison official in charge of prison trust
fund accounts at plaintiffs prison. The Clerk is further ORDERED to forward a copy of
this order to the warden of the HCCF to ensure that the custodian of the plaintiffs inmate
trust account complies With that portion of the PLRA pertaining to the payment of filing
fees.

Il. Analvsis of Plaintif`fs Claims

The complaint alleges that the plaintiff, who suffers from hepatitis C, kidney

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problems, high blood pressure, cirrhosis of the liver, and hip and back problems, has been
prescribed various medications that apparently cause him to urinate and defecate frequently.
The plaintiff complains that he has been denied access to the bathroom during recreation
periods and, as a result, he has been forced to urinate outside, in view of a female corrections
officer. On July 8, 2004, plaintiff was denied access to a bathroom during recreation period.
On that date, he was unable to control his bowels and defecated on himsele Defendant
Brandis allegedly issued a directive to the officers on duty that inmates are not permitted
access to the bathroom near the recreation yard and the gym. The plaintiff seeks declaratory
and injunctive relief and monetary damages

The Sixth Circuit has held that 42 U.S.C. § 1997e(a) requires a federal court to
dismiss a complaint without prejudice whenever a prisoner brings a prison conditions claim
without demonstrating that he has exhausted his administrative remedies. Brown v.

Toombs, 139 F.3d 1102 (6th Cir. 1998); s_ee Porter v. Nussle, 534 U.S. 516, 532 (2002)

 

 

(“[T]he PLRA ’ s exhaustion requirement applies to all inmate suits about prison life, whether
they involve general circumstances or particular episodes, and whether they allege excessive
force or some other wrong.”); Booth v. Churner, 532 U.S. 731 (2001) (prisoner seeking only
money damages must exhaust administrative remedies even though damages are unavailable
through grievance system). This requirement places an affirmative burden on prisoners of
pleading particular facts demonstrating the complete exhaustion of claims. Knuckles El v.

Toombs, 215 F.3d 640, 642 (6th Cir. 2000). ln order to comply with the mandates of 42

 

U.S.C. § 1997e(a):

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a prisoner must plead his claims with specificity and show that they have been

exhausted by attaching a copy of the applicable administrative dispositions to

the complaint or, in the absence of written documentation, describe with

specificity the administrative proceeding and its outcome.

Knuckles El, 215 F.3d at 642; see also Baxter v. Rose, 305 F.3d 486 (6th Cir. 2002)
(prisoner who fails to adequately allege exhaustion may not amend his complaint to avoid
a sua sponte dismissal); Cur_ry v. Scott, 249 F.3d 493, 503-04 (6th Cir. 2001) (no abuse of
discretion for district court to dismiss for failure to exhaust when plaintiffs did not submit
documents showing complete exhaustion of their claims or otherwise demonstrate
exhaustion). Furthermore, § 1997(e) requires the prisoner to exhaust his administrative
remedies prior to filing suit and, therefore, he cannot exhaust these remedies during the
pendency of the action. Freeman v. Francis, 196 F.3d 641, 645 (6th Cir. 1999).

In this case, the plaintiff filed a grievance on or about July 10, 2004 against defendant
Brandis concerning this incident After an investigation, the grievance committee
recommended that restroom facilities be made available to inmates on request during
recreation time. Defendant Turner rejected the proposed response on August 20, 2004, and
the TDOC agreed with the warden’s response on September 7, 2004. Plaintiff has,
therefore, exhausted his claim against defendant Brandis. Because plaintiffs grievance does
not mention defendant Turner’s role in formulating the challenged policy, he has not
exhausted his claims against Turner. Moorer v. Price, 83 Fed. Appx. 770, 772 (6th Cir. Dec.

9, 2003) [plaintiff did not exhaust claim against warden because his grievance did not

identify the warden or articulate any claim against her); Thomas v. Woolum, 337 F.3d 720,

 

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733-34 (6th Cir. 2003); Cugy, 249 F.3d at 504.2
The Sixth Circuit recently stated that “[a] plaintiff who fails to allege exhaustion of
administrative remedies through ‘particularized averments’ does not state a claim on which

relief may be granted, and his complaint must be dismissed sua sponte.” Baxter, 305 F.3d

 

at 489. Accordingly, the Court DI SMISSES the complaint with respect to defendant Turner,
without prejudice, pursuant to 42 U.S.C. § 1997e(a).3
IIl. Appointment of Counsel

The plaintiff has also filed a motion seeking appointment of counsel “There is no
constitutional or . . . statutory right to counsel in federal civil cases.” Farmer v. Haas, 990
F.2d 319, 323 (7th Cir. 1993). Pursuant to 28 U.S.C. § 1915(e)(1), a district court is vested
with discretion to appoint an attorney to represent an indigent party in a civil case. M
v. Alexander, 486 F. Supp. 156, 157 (M.D. Tenn. 1980). No fi.lnds have been appropriated
to pay the fees of any appointed counsel, however, and “§ 1915[(e)(1)] does not authorize
the federal courts to make coercive appointments of counsel” to represent indigent civil

litigants. Mallard v. United States Dist. Court for the S. Dist. of Iowa, 490 U.S. 296, 310

 

(1989). Generally, a court will only appoint counsel in exceptional circumstances Willett

 

v. Wells, 469 F. Supp. 748, 751 (E.D. Tenn. 1977). Although “no comprehensive definition

 

2 As no Sixth Circuit decision has held that an inmate’s grievance must specifically mention the
corporation that operates a prison in order to exhaust his claims against that entity, the Court declines to dismiss the
plaintiffs claims against CCA sua sponte on that basis.

3 As the Sixth Circuit explained, “lf the plaintiff has exhausted his administrative remedies, he may
always refile his complaint and plead exhaustion with sufficient detail to meet our heightened pleading requirement,
assuming that the relevant statute of limitations has not run.” Baxter, 305 F.3d at 489.

 

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of exceptional circumstances is practical,” Branch v. Cole, 686 F.2d 264, 266 (5th Cir.

1982), courts resolve this issue through a fact-specific inquiry. Wilborn v. Escalderon, 789

 

F.2d 1328, 1331 (9th Cir. 1986). Examining the pleadings and documents in the file, the
Court analyzes the merits of the claims, the complexity of the case, the pro se litigant’s prior
efforts to retain counsel, and his ability to present the claims. Henrv v. Citv of Detroit
Manpower Dep’t, 763 F.2d 757, 760 (6th Cir. 1985); Wiggins v. Sargent, 753 F.2d 663, 668
(8th Cir. 1985).

ln this case, the plaintiffs motion does not demonstrate the existence of extraordinary
circumstances that would warrant appointment ofcounsel. The facts concerning this claim
are not complex. Finally, the Court is aware that there is a severe shortage of attorneys
willing to accept appointment to prisoner civil rights cases on a pro bono basis.
Accordingly, the motion for appointment of counsel is DENIED.

IV. lssuance of Process

 

It is ORDERED that the Clerk shall issue process for the remaining defendants, CCA
and Brandis, and deliver said process to the U.S. Marshal for service. Service shall be made
on the individual defendant pursuant to Fed. R. Civ. P. 4(e)(1) and Tenn. R. Civ. P. 4.04(1)
& (10), either by mail or personally if mail service is not effective Service shall be made
on CCA pursuant to Fed. R. Civ. P. 4(h)(1). The service on the defendants shall include
copies of this order. All costs of service shall be advanced by the United States.

lt is ORDERED that the plaintiff shall serve a copy of every further document filed

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in this cause on the attorney for each defendant or on any defendant that has no attorney.
The plaintiff shall make a certificate of service on every document filed. The plaintiff shall
familiarize himself with the Federal Rules of Civil Procedure and this Court’s local rules.‘°1

The plaintiff shall promptly notify the Clerk of any change of address or whereabouts
F ailure to comply with these requirements, or any other order of the Court, may result in this
case being dismissed without further notice.

IT lS SO ORDERED this g l day of April, 2005.

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S D. TODD
ED STATES DISTRICT JUDGE

 

4 Plaintiff may request a copy of the Local Rules from the Clerk of Court.

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Notice of Distribution

This notice confirms a copy of the document docketed as number 4 in
case 1:04-CV-01300 was distributed by fax, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

Raymond E. Clark
HCCF-WHITEVILLE
227052

P.O. Box 549

Whiteville, TN 38075--054

Honorable .l ames Todd
US DlSTRlCT COURT

